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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 19-21826-CIV-LENARD/O=SULLIVAN

  CARLOS A. ALONSO CANO, individually
  and as guardian for his son, ANGIE ALONSO
  MOREJON, and as next of friend of his minor
  daughters, KATY ALONSO MOREJON and JANY LEIDY
  ALONSO MOREJON and FE MOREJON FERNANDEZ,
  individually,

         Plaintiffs,
  vs.

  245 C & C, LLC and CFH GROUP, LLC.,

        Defendants.
  ____________________________________/

                                              ORDER

         THIS MATTER is before the Court following an informal discovery conference held

  before the undersigned on September 17, 2020. Having heard from the parties, for the reasons

  stated on the record, and in accordance with the rulings from the bench, the undersigned enters

  the following Order.

         Federal Rule of Civil Procedure 30 indicates that

                 At any time during a deposition, the deponent or a party
                 may move to terminate or limit it on the ground that it is
                 being conducted in bad faith or in a manner that
                 unreasonably annoys, embarrasses, or oppresses the
                 deponent or party. The motion may be filed in the court
                 where the action is pending or the deposition is being taken.
                 If the objecting deponent or party so demands, the
                 deposition must be suspended for the time necessary to
                 obtain an order.

         A review of the Zoom video of the deposition of FE MOREJON FERNANDEZ reveals

  that during the deposition CARLOS A. ALONSO CANO acted in a manner that unreasonably

  annoyed, embarrassed, or oppressed defense counsel, by yelling at her, calling her a liar,

  berating her and attempting to embarrass defense counsel. The conduct of CARLOS A.
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  ALONSO CANO caused the deposition of FE MOREJON FERNANDEZ to be suspended, and

  he is therefore responsible for the costs associated with the need to continue the deposition of

  FE MOREJON FERNANDEZ. Accordingly, it is further

          ORDERED AND ADJDUGED that CARLOS A. ALONSO CANO shall pay the defendant

  any additional costs that were incurred by defense counsel because the deposition of FE

  MOREJON FERNANDEZ needed to be suspended and continued to a different day. It is further

          ORDERED AND ADJDUGED that defense counsel shall file a notice and affidavit with

  the Court after the completion of the deposition of FE MOREJON FERNANDEZ outlining those

  additional costs. It is further

          ORDERED AND ADJDUGED that CARLOS A. ALONSO CANO shall behave

  appropriately at all further proceedings in this matter. It is further

          ORDERED AND ADJUDGED that FE MOREJON FERNANDEZ is required to sit for an

  additional 90 minutes of direct examination deposition time. The direct examination of the

  deposition shall be conducted for 45 minutes, after which there will be a 10 to 15 minute break.

  At the conclusion of the break the remaining 45 minutes of the direct examination of FE

  MOREJON FERNANDEZ shall occur. There shall be another 10 to 15 minute break at the

  conclusion of the direct examination, after which there may be cross examination. FE

  MOREJON FERNANDEZ shall take any required medication, including but not limited to

  hypertension medication, prior to the commencement of the deposition, and she shall be

  prepared to sit for the entire remaining portion of her deposition. It is further

          ORDERED AND ADJUDGED that unless the parties agree otherwise the remaining

  portion of the deposition of FE MOREJON FERNANDEZ shall occur on September 22, 2020, at

  2:30 PM. It is further

          ORDERED AND ADJDUGED that the court reporter at the continued deposition of FE

  MOREJON FERNANDEZ shall transcribe everything that is said during the deposition. There
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  shall be no off the record dialogue. It is further

          ORDERED AND ADJDUGED that the defendant’s request for additional medical records

  regarding FE MOREJON FERNANDEZ is denied. It is further

          ORDERED AND ADJDUGED that the defendant’s request that Request for Admission 5

  and Request for Admission 6 be deemed admitted is granted. It is further

          ORDERED AND ADJDUGED that the defendant’s request for attorney’s fees associated

  with the process to get the Requests for Admission admitted is denied. It is further

          ORDERED AND ADJDUGED that if Amanda Ortiz and CARLOS A. ALONSO CANO

  have any of the additional pages of the document the undersigned designated as page 2 during

  the hearing, they shall provide those to the defendant. No sanctions will be awarded in

  conjunction with the aforementioned document. It is further

          ORDERED AND ADJDUGED that defense counsel shall provide the court reporter for

  the deposition of FE MOREJON FERNANDEZ with the Zoom recording of the deposition. If

  anything is missing in the court reporter’s transcription that is contained in the Zoom recording,

  the court reporter shall amend the transcription to reflect any missing dialogue.

          DONE AND ORDERED, in Chambers, at Miami, Florida, this 18th day of September

  2020.



                                         _______________________________________
                                         JOHN J. O'SULLIVAN
                                         CHIEF UNITED STATES MAGISTRATE JUDGE




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